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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION

                                  CASE NO: 8:19-CR-181

UNITED STATES OF AMERICA,        )
                                 )
           vs.                   )
                                 )
DANNY MORALES LOPEZ,             )
                                 )
                Defendant.       )
________________________________)

                               MOTION FOR SEVERANCE

       COMES NOW the defendant, by and through the undersigned counsel, and

respectfully moves this Court for the entry of an Order severing his/her trial from that of co-

defendants, and alleges as follows:

       (1)    A severance for the defendant in this cause and a separate trial for this

              defendant is necessary in order to provide a fair determination of the guilt or

              innocence of the defendant in this case. The defendant's defense in this

              cause is or may be inconsistent with one or more of the co-defendants. The

              defendant will not receive a fair trial if he/she is forced to defend

              himself/herself against both the State and the co-def endants in this cause.

       (2)    At a separate and later trial, the defendant may call co-defendants to testify

              to matters that are beneficial to this defendant. On information and belief,

              at a joint trial these co-defendants would not testify because of possible self-

              incrimination and/or prejudice; thus, unless a severance is granted, this

              defendant would be deprived of the right of exculpatory evidence.
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      (3)    That the present joinder in the above-styled matters is prejudicial to the

             interest of Defendant, and he/she is entitled to relief therefrom.

      (4)    That the above motion is made in faith and not for purposes of delay, and if

             severance is granted defendant is ready for trial.

      (5)    That on information, there are co-defendants who may have given

             incriminatory statements against this defendant and a severance is in order

             to prevent a violation of Bruton.

      WHEREFORE, defendant prays this Court grant a severance and relieve him/her

from prejudicial joinder of co-defendants.

                                         Respectfully submitted,


                                         s/ Jack B. Swerling
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